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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 24-cv-00968-GPG-STV

EZAMIKA BROWN,

       Plaintiff,

v.

MARQUEZ, SERGEANT,
JUAREZ, CORRECTIONAL OFFICER,
MARK FAIRBAIRN, WARDEN,
LORENZO TOBIN, CAPTAIN,
LINDSAY GOUTY, HEALTH SERVICE ADMINISTRATOR,
NURSE LISA HANKS,
NURSE RAMONA,

       Defendants.

     CDOC DEFENDANTS’ MOTION FOR EXTENSION OF TIME TO RESPOND TO
         PLAINTIFF’S FIRST SET OF WRITTEN DISCOVERY REQUESTS

       Defendants Moraima Marquez, Jeremiah Juarez, Mark Fairbairn, Lorenzo Tobin,

Lindsay Gouty, and Lisa Hanks (collectively, CDOC Defendants), 1 through the Colorado

Attorney General, hereby request an extension of time to respond to Plaintiff’s First Set

of Written Discovery Requests. In support, CDOC Defendants state as follows:

       1.      Because Plaintiff is a pro se prisoner, undersigned counsel was not required

to confer with him prior to filing this motion. See D.C.COLO.LCivR 7.1(b)(1).

       2.      On February 2, 2025, Plaintiff served his First Set of Written Discovery

Requests to CDOC Defendants, which contained interrogatories, requests for production


1 Nurse Ramona has not yet been served and is not currently represented by the

Colorado Attorney General’s office. ECF No. 10.
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of documents, and requests for admission. CDOC Defendants’ deadline to respond is

March 7, 2025.

       3.     Pursuant to D.C.COLO.LCivR 6.1(a), CDOC Defendants are respectfully

requesting an extension of time of thirty (30) days, up to and including April 7, 2025, 2 to

respond to Plaintiff’s First Set of Written Discovery Requests.

       4.     Pursuant to Fed. R. Civ. P. 6(b)(1)(A), the Court may grant an extension of

time for good cause upon motion if the request is made before the original time expires. 3

       5.     Good cause exists for this extension of time. On March 5, 2025,

undersigned counsel were notified that a potential conflict has arisen regarding their

representation of Defendants Marquez and Gouty. An investigation regarding the possible

conflict has been initiated, and additional time is necessary to complete that investigation.

       6.     This is CDOC Defendants’ first request for an extension of time to serve

responses to Plaintiff’s First Set of Written Discovery Requests.

       WHEREFORE, CDOC Defendants respectfully request an extension of time of

thirty (30) days, up to and including April 7, 2025, to respond to Plaintiff’s First Set of

Written Discovery Requests directed to them.




2 Thirty days from March 7, 2025 falls on April 6, 2025, which is a Sunday.

Consequently, the deadline to respond would be Monday, April 7, 2025. See Fed. R.
Civ. P. 6(a)(1)(C).
3 The Uniform Civil Practice Standards of the United States Magistrate Judges require a

motion for an extension of time to be filed three (3) days before the deadline.
Undersigned counsel apologizes for the delay and respectfully requests relief from this
requirement due to the unforeseen potential conflicts regarding Defendants Marquez
and Gouty.
                                              2
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      Respectfully submitted this 6th day of March, 2025.

                                          PHILIP J. WEISER
                                          Attorney General


                                          s/ Abigail L. Smith
                                          ABIGAIL L. SMITH*
                                          JOSHUA URQUHART*
                                          Assistant Attorneys General
                                          Colorado Department of Law
                                          Attorneys for CDOC Defendants
                                          1300 Broadway, 10th Floor
                                          Denver, CO 80203
                                          Telephone: 720-508-6000
                                          E-Mail: abigail.smith@coag.gov
                                          *Attorneys of Record


                             CERTIFICATE OF SERVICE

      This is to certify that I have duly served the within CDOC DEFENDANTS’

MOTION FOR EXTENSION OF TIME TO RESPOND TO PLAINTIFF’S FIRST SET OF

WRITTEN DISCOVERY REQUESTS herein by e-filing with the CM/ECF system

maintained by the court on March 6, 2025, and by depositing copies of same in the

United States mail, first-class postage prepaid, at Denver, Colorado, on March 6, 2025

addressed as follows:


 Ezamika Brown #116759                    Courtesy copy e-mailed to client Representative:
 Arkansas Valley Correctional Facility    Anthony DeCesaro,
 12750 Highway 96 at Lane 13              Associate Director of Legal Services, CDOC
 Ordway, CO 81034
 Plaintiff, Pro Se



                                         s/ James Mules
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